

People v McCullough (2017 NY Slip Op 06847)





People v Mccullough


2017 NY Slip Op 06847


Decided on September 29, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 29, 2017

PRESENT: SMITH, J.P., PERADOTTO, LINDLEY, AND TROUTMAN, JJ. (Filed Sept. 29, 2017.) 


MOTION NO. (391/11) KA 07-02491.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vTUREMAIL MCCULLOUGH, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








